Case 4:21-cv-00468-MWB   Document 35-8   Filed 09/30/22   Page 1 of 12




                    EXHIBIT G
Case 4:21-cv-00468-MWB   Document 35-8   Filed 09/30/22   Page 2 of 12
5/4/22, 3:43 PM   Case 4:21-cv-00468-MWB        Document
                                   Murphy Law Group,            35-8
                                                     LLC Mail - RE: Szabo v.Filed
                                                                             Muncy09/30/22         Page
                                                                                  - Ric Szabo's Travel      3 of 12
                                                                                                       Information

        5/29/2018    Simpsonville, SC


        5/31/2018    Shreveport, LA


          6/4/2018   East Hazel Crest, IL


          6/6/2018   Avenel, NJ


          6/7/2018   Harrisburg, PA


        6/13/2018    Mequon, WI


        6/14/2018    Greenville, WI


        6/15/2018    Valders, WI


        6/19/2018    West Valley City, UT


        6/21/2018    Ukiah, CA


        6/21/2018    West Sacramento, CA


          7/3/2018   Hillside, NJ


        7/17/2018    Calgary AB, CA.


        7/18/2018    Edmonton, AB


        7/19/2018    Nisku, AB. CA


        7/31/2018    Pleasanton TX


          8/1/2018   San Antonio, TX


          8/3/2018   Dallas, TX


        8/14/2018    Nashville, TN


        8/22/2018    Bend, OR


        8/28/2018    Huntington, WV


        8/28/2018    MT Hope, WV


        8/30/2018    Indianapolis, IN



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5/4/22, 3:43 PM   Case 4:21-cv-00468-MWB        Document
                                   Murphy Law Group,            35-8
                                                     LLC Mail - RE: Szabo v.Filed
                                                                             Muncy09/30/22         Page
                                                                                  - Ric Szabo's Travel      4 of 12
                                                                                                       Information

        8/31/2018    blue Ash, OH


          9/6/2018   Longview , TX


        9/17/2018    Houma, LA


        9/25/2018    Cleveland, OH


       10/16/2018    Spokane, WA


       10/17/2018    Longview, WA


       10/18/2018    Tacoma, WA


       10/26/2018    Baker, LA


       10/31/2018    Oklahoma City, OK


         11/1/2018   Las Vegas, NV


       11/15/2018    Piedmont, SC


       11/26/2018    Booneville, IN


       11/28/2018    St. Charles, IL


       11/29/2018    Indianapolis, IN


       12/18/2018    Saint Hyacinthe, Quebec Canada


        1/10/2019    Austin, TX


        1/15/2019    Bowling Green, MO


        1/16/2019    Indianapolis, IN


        1/17/2019    Hammond, IN


        1/22/2019    Morgan City, LA


        1/28/2019    Charleston, SC


        1/29/2019    Columbia, SC


        1/30/2019    Miami, FL



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                                   Murphy Law Group,            35-8
                                                     LLC Mail - RE: Szabo v.Filed
                                                                             Muncy09/30/22         Page
                                                                                  - Ric Szabo's Travel      5 of 12
                                                                                                       Information

          2/5/2019   Odessa, TX


          2/8/2019   Appleton, WI


        2/14/2019    Union, NJ


        2/15/2019    Syracuse, NY


        2/19/2019    Oakland City, IN


        2/25/2019    Bowling Green, MO


        2/27/2019    Houston, TX


          3/5/2019   Greenville, WI


          3/7/2019   Milwaukee, WI


        3/13/2019    Saco, ME


        3/14/2019    Liberal, KS


        3/14/2019    Oklahoma City, OK


        3/15/2019    Woodward, OK


        3/20/2019    Williston, ND


        3/21/2019    Elko, NV


        3/22/2019    Salt Lake City, UT


        3/25/2019    Beaumont, TX


        3/27/2019    Corpus Christi, TX


        3/28/2019    San Antonio, TX


        3/29/2019    Houston, TX


          4/9/2019   Springfield, MO


        4/10/2019    Kirksville, MO


        4/12/2019    OKC, OK



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                                   Murphy Law Group,            35-8
                                                     LLC Mail - RE: Szabo v.Filed
                                                                             Muncy09/30/22         Page
                                                                                  - Ric Szabo's Travel      6 of 12
                                                                                                       Information

        4/17/2019    Hayden, ID


        4/18/2019    Burnaby, BC Canada


        4/26/2019    New Orleans, LA


          5/1/2019   Clovis, CA


          5/2/2019   Casper, WY


          5/7/2019   Cocoa, FL


          5/8/2019   Jacksonville, FL


          5/9/2019   Knoxville, TN


        5/13/2019    Houston, TX


        5/15/2019    New Brighton, MN


        5/16/2019    St Paul, MN


        5/22/2019    Bowling Green, MO


        5/31/2019    Longview , TX


        5/31/2019    Shreveport, LA


          6/3/2019   Little Chute, WI


          6/7/2019   Casper, WY


         6/11/2019   Avenel, NJ


        6/13/2019    Toledo, OH


        7/12/2019    Salt Lake City, UT


        7/23/2019    Coatesville, PA


        7/25/2019    Lafayette, LA


        7/26/2019    Houston, TX


        7/31/2019    Corpus Christi, TX



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                                   Murphy Law Group,            35-8
                                                     LLC Mail - RE: Szabo v.Filed
                                                                             Muncy09/30/22         Page
                                                                                  - Ric Szabo's Travel      7 of 12
                                                                                                       Information

          8/1/2019   Mills River, NC


          8/1/2019   North Charleston, SC


          8/2/2019   Corpus Christi, TX


        8/12/2019    San Antonio, TX


        8/12/2019    Kirksville, MO


        8/13/2019    Odessa, TX


        8/14/2019    Pleasanton TX


        8/15/2019    Dallas, TX


        8/16/2019    Dallas, TX


        8/22/2019    Abbeville, LA


        8/27/2019    Cincinnati, OH


        8/28/2019    Jeffersonville, IN


        8/28/2019    Dayton, OH


        8/29/2019    Broussard, LA


        8/29/2019    Columbus, OH


        8/29/2019    Indianapolis, IN


        8/30/2019    Booneville, IN


         9/11/2019   Houston, TX


        9/17/2019    Brooksville, FL


        9/18/2019    Doral, FL


        9/19/2019    North Haven, CT


        9/24/2019    Columbus, OH


        9/25/2019    Huntington, WV



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                                   Murphy Law Group,            35-8
                                                     LLC Mail - RE: Szabo v.Filed
                                                                             Muncy09/30/22         Page
                                                                                  - Ric Szabo's Travel      8 of 12
                                                                                                       Information

        9/26/2019    MT Hope, WV


        10/1/2019    Bend, OR


        10/3/2019    Taylor, MI


       10/17/2019    Houma, LA


       10/23/2019    Oakland, CA


       10/29/2019    Lafayette, LA


         11/8/2019   Houma, LA


       11/11/2019    Casper, WY


       11/12/2019    Sedalia, Co


       11/14/2019    Ft Wayne, IN


       11/15/2019    St. Charles, IL


       11/26/2019    Baker, LA


        12/5/2019    Houma, LA


       12/11/2019    Greendale, WI


       12/12/2019    East Hazel Crest, IL


       12/19/2019    Williamsport, PA


       12/28/2019    New Orleans, LA


          1/8/2020   Cut Off, LA


        1/14/2020    East Hazel Crest, IL


        1/15/2020    Bowling Green, MO


        1/24/2020    Nashville, TN


        1/28/2020    Phoenix, AZ


        1/30/2020    Midland, Tx



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                                   Murphy Law Group,            35-8
                                                     LLC Mail - RE: Szabo v.Filed
                                                                             Muncy09/30/22         Page
                                                                                  - Ric Szabo's Travel      9 of 12
                                                                                                       Information

          2/4/2020   Oakland City, IN


          2/6/2020   Elkton, KY


        2/19/2020    Aberdeen, NC


        2/19/2020    Raleigh, NC


        2/20/2020    Duncan, SC


        2/25/2020    Avenel, NJ


          3/3/2020   Columbia, SC


          3/3/2020   Charleston, SC


          3/5/2020   Grand Rapids, MI


          3/5/2020   Miami, FL


         3/11/2020   Corpus Christi, TX


        3/18/2020    Saco, ME


        4/20/2020    Houma, LA


        4/27/2020    Kirksville, MO


        4/29/2020    Oakland City, IN


         5/11/2020   Beaumont, TX


        5/14/2020    Austin, TX


        5/22/2020    Pomona, CA


        5/27/2020    Cocoa, FL


          6/1/2020   Rosharon, TX


          6/3/2020   Longview , TX


          6/3/2020   Shreveport, LA


          6/8/2020   Jacksonville, FL



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5/4/22, 3:43 PM   Case 4:21-cv-00468-MWB        Document
                                    Murphy Law Group, LLC Mail - 35-8
                                                                 RE: Szabo Filed
                                                                           v. Muncy09/30/22         Page
                                                                                    - Ric Szabo's Travel      10 of 12
                                                                                                         Information

        6/23/2020     Tacoma, WA


        6/24/2020     Longview, WA


        6/25/2020     Salem, OR


          7/1/2020    Nashville, TN


          7/3/2020    Cocoa, FL


        7/16/2020     Woodward, OK




    Best regards,

    Lori Spangler

    Paralegal to Gregory A. Stapp



    Lori M. Spangler, FRP, Pa.C.P.

    Litigation Paralegal

    Stapp Law, L.L.C.

    153 West Fourth Street, Suite 6

    Williamsport, PA 17701

    570.326.1077

    lspangler@stapplaw.net




    From: Gregory Stapp <gstapp@stapplaw.net>
    Sent: Monday, May 2, 2022 2:32 PM
    To: Mary Kramer <mkramer@phillyemploymentlawyer.com>
    Cc: Lori Spangler <lspangler@stapplaw.net>
    Subject: RE: Szabo v. Muncy



    Understood Mary. I have asked the client for them. I will ask again today.



    As soon as I have the information, my office will forward it to your attention.



    Thanks,

    Greg



    Gregory A. Stapp, Esquire

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Case 4:21-cv-00468-MWB   Document 35-8   Filed 09/30/22   Page 11 of 12
5/4/22, 3:43 PM    Case 4:21-cv-00468-MWB        Document
                                     Murphy Law Group, LLC Mail - 35-8
                                                                  RE: Szabo Filed
                                                                            v. Muncy09/30/22         Page
                                                                                     - Ric Szabo's Travel      12 of 12
                                                                                                          Information

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                  Murphy Law Group, LLC




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                  O: 267.273.1054 | F: 215.525.0210
                  EMAIL: mkramer@phillyemploymentlawyer.com | WEBSITE: www.
                  phillyemploymentlawyer.com


     3 attachments




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                                                 7K




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                           1K




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